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                         UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF KANSAS

Michael W. Rogers,
                          Plaintiff,

v.                                                   Case No. 19-3145-JTM-ADM



Richard English,
                          Defendant.

             SUPPLEMENTAL MOTION TO COMPEL PRODUCTION
                      OF DEPOSITION TRANSCRIPT

      Pursuant to the Court’s Order (Doc. #107), defendant Richard English provides

the following information regarding the court reporter referenced in defendant’s

original Motion to Compel (Doc. #106):

             Dana Burkdoll
             Midwest Reporters, Inc.
             3706 SW Topeka Boulevard, Suite 400
             Topeka, KS 66610
             (800) 528-3194 (telephone)
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                                 Respectfully submitted,

                                 OFFICE OF ATTORNEY GENERAL
                                 DEREK SCHMIDT

                                 /s/ Shon D. Qualseth
                                 Shon D. Qualseth, KS No. 18369
                                 Assistant Attorney General/Senior Trial Counsel
                                 120 S.W. 10th Avenue, 2nd Floor


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                                   And

                                   /s/ Natasha M. Carter
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                                   Kansas Department of Corrections
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                                   Email: Natasha.Carter@ks.gov
                                   Counsel for Defendant

                              CERTIFICATE OF SERVICE

       I hereby certify that on this 28th day of December, 2021, I electronically filed the
above and foregoing with the Clerk of the Court using the CM/ECF system, which sent
electronic notification of such filing to all those individuals currently electronically
registered with the Court.

       I further certify that on this date a copy of this Supplemental Motion was sent by
electronic mail and U.S. mail to:

       Dana Burkdoll
       Midwest Reporters
       3706 SW Topeka Blvd., Suite 400
       Topeka, KS 66610
       MWReporters@midwestreporters.net



                                          s/ Shon D. Qualseth
                                          Shon D. Qualseth




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